Case 2:22-cv-00547-MJH Document 94 Filed 07/18/23 Page 1 of 6

IN THE UNITED STATES DISTRICT COURT FOR
THE WESTERN DISTRICT OF PENNSYLVANIA

RENEE ZINSKY,
Plaintiff, Civil Action No. 2:22-cv-547-MJH

Electronically Filed

MICHAEL RUSSIN, RUSSIN FINANCIAL,
RUSSIN GROUP,

Jury Trial Demanded
Defendants.

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MOTION FOR E 11 SANCTION

Simon Arias, III, as set forth below, respectfully moves for an order sanctioning
Plaintiff Renee Zinsky (“Zinsky”) and her counsel Amy Williamson, Esquire (“Williamson”)
pursuant to Federal Rule of Civil Procedure 11(b)(1), and in support thereof avers as follows:

1. Zinsky filed suit against Russin, Russin Financial, Russin Group, American
Income Life, Simon Arias, III, S.A. Arias Holdings, LLC, and Arias Agencies. ECF No. 9.

2. American Income Life, Simon Arias, HI, S.A. Holdings, LLC, and Arias
Agencies, moved to compel arbitration. ECF Nos. 17 and 20.

3. By Opinion and Order dated July 22, 2022, this Court granted the motion to
compel arbitration. ECF No. 37.

4. The Court’s Order stated that any further proceedings in this case would be
stayed as to American Income Life, Simon Arias, III, S.A. Arias Holdings, LLC, and Arias
Agencies. ECF No. 37 at 12.

5. Because proceedings in this matter have been stayed but not dismissed against

Simon Arias, he has standing to file this Motion. See Op., ECF 37 at 13.
Case 2:22-cv-00547-MJH Document 94 Filed 07/18/23 Page 2 of 6

6. All active claims in this case are against Mr. Russin only.
7. On or about April 22, 2023, Zinsky filed a Motion for Contempt as to Defendant
Michael Russin. ECF No. 68.
8. The Motion for Contempt alleges conduct by Russin allegedly intimidating
witnesses; there is no mention of Mr. Arias. ECF No. 68.
9. In support of her Motion for Contempt, Zinsky filed a Brief (ECF No. 72) and a
Supplemental Brief (ECF 74),
10. Russin moved to strike the Brief in Support because it was not filed with
Zinsky’s Motion for Contempt but filed after Russin filed his response. ECF No. 73 at § 4.
11. On or about May 8, 2023, this Court entered the following order:
TEXT ORDER denying [Defendant’s] Motion to Strike [73]. Defendant may file
any responsive brief to ECF Nos. [72] and [74] on or before May 15, 2023. There
will be no reply brief without express order from the Court. Signed by Judge

Marilyn J. Horan on 5/8/2023. Text-only entry; no PDF document will issue. This
text-only entry constitutes the Order of the Court or Notice on the matter. (bj])

ECF No. 75 (emphasis added).

12. On or about May 15, 2023, Russin filed his Brief in Support of Response to
Plaintiff's Motion for Contempt. ECF No. 80.

13. On May 18, 2023, without seeking the Court’s permission, Zinsky filed
Plaintiff's Second Supplemental Brief in Support of Plaintiff's Motion for Contempt as to
Defendant Michael Russin (“Second Supplemental Brief”). ECF No. 81.

14. Attached to the Second Supplemental Brief was the Affidavit of Chatiqua
Hemingway. ECF No. 81-2.

15. In addition to allegations about Russin, the Affidavit contained allegations about

Simon Arias. ECF No. 81-2 4§ 14-18.
Case 2:22-cv-00547-MJH Document 94 Filed 07/18/23 Page 3 of 6

16. Lawyers draft affidavits. Clients and witnesses do not. Williamson drafted the
Hemingway Affidavit.

17. The paragraphs containing allegations about Simon Arias are unrelated and
irrelevant to Zinsky’s Motion for Contempt filed against Russin and are unrelated and
irrelevant to Zinsky’s case in chief against Russin. See ECF Nos. 49, 68.

18. There was no legitimate reason to include the allegations about Simon Arias in
the Affidavit.

19. The allegations are false and were included to harass and embarrass Simon
Arias.

20. The allegations were intended to smuggle into the public record salacious lies
against Simon Arias so they could be republished in the media under the false guise of
privilege.

21. On May 19, 2023, Zinsky filed Plaintiff's Motion for Leave to File Plaintiffs
Supplemental Briefs in Support of Motion for Contempt (“Motion for Leave to File”). ECF
No, 82.

22. | Zinsky’s Motion for Leave to File cited only actions by Russin.

23. On May 19, the Court denied Zinsky’s Motion for Leave to File (ECF No. 82)
and struck her Second Supplemental Brief (ECF No. 81). ECF No. 83.

24. Because the Affidavit was part of Zinsky’s Second Supplemental Brief, it too
was stricken. See ECF No. 83. However, it remains publicly available.

25. On May 22, 2023, reporter Paul Van Osdol of local ABC affiliate WTAE
contacted the undersigned to ask about the Affidavit of Chatiqua Hemingway, stating that he

“learned of” it that day.
Case 2:22-cv-00547-MJH Document 94 Filed 07/18/23 Page 4 of 6

26. Mr. Van Osdol was provided a copy of the Court’s Order striking Zinsky’s
Second Supplemental Brief.

27. On or about May 23, 2023, Zinsky appeared on WTAE in an interview with Van
Osdol about this case.

28. On or about June 1, 2023, Zinsky’s attorney, Amy Williamson, Esquire,
appeared in an interview by local NBC affiliate WPXI.

29. Based on the timing of the interviews, it appears that Zinsky and her counsel
filed the Affidavit without permission in the hopes of getting the allegations into news stories.

30. Such behavior is an abuse of the judicial process.

31. On June 7, 2023, the undersigned discussed this proposed motion in a telephone
call that also included counsel for Defendant Russin without any resolution.

32. On June 8, in a follow-up email to both Plaintiff's attorney and Defendant
Russin’s attorney, the undersigned provided (as a compromise or alternative to sealing the
Affidavit) a proposed redacted version of the Affidavit to be substituted for version filed by
Plaintiffs attorney.

33. The parties have not resolved this issue.

34. Federal Rule of Civil Procedure 11(b)(1) prohibits attorneys and parties from
presenting documents to the Court “for any improper purpose, such as to harass ....”

35. As discussed herein, Zinsky and Williamson had numerous improper purposes in
presenting the Hemingway affidavit.

36. Redacting paragraphs 14-18 of the Hemingway Affidavit wherever it appears in
the record and prohibiting the use of the unredacted Hemingway Affidavit is the most

narrowly tailored remedy available under the circumstances.
Case 2:22-cv-00547-MJH Document 94 Filed 07/18/23 Page 5 of 6

37. In addition, Simon Arias seeks an award of counsel fees and asks the Court to
admonish Ms. Williamson.
38. Simon Arias has complied with the safe harbor provisions of Rule 11(c)(2).
WHEREFORE, Simon Arias, III, respectfully requests the Court grant this Motion for
Sanctions and:
a) Order the Clerk of Courts to redact paragraphs 14-18 of the Hemingway Affidavit
(wherever it appears) from public view;
b) Prohibit Plaintiff Renee Zinsky and her counsel Amy Williamson, Esquire, from
using the unredacted Hemingway Affidavit for any purpose;
c) Order Plaintiff Renee Zinsky and her counsel Amy Williamson, Esquire, to pay
Arias’ reasonable counsel fees in preparing and presenting this Motion;
d) Admonish Ms. Williamson for her misconduct; and
e) Grant such other relief as the Court deems appropriate.

A proposed Order is filed contemporaneously with this Motion.
Dated: July 18, 2023

Respectfully submitted,

STRASSBURGER McKENNA GUTNICK &
GEFSKY

/S/ Jean E. Novak

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Counsel for Simon Arias, II
Case 2:22-cv-00547-MJH Document 94 Filed 07/18/23 Page 6 of 6

CERTIFICATE OF SERVICE

I hereby certify that a true and correct copy of the foregoing MOTION FOR RULE 11
SANCTIONS and PROPOSED ORDER was served this 18th day of July 2023, on all counsel of

record via electronic mail and the Court’s ECF system:

Amy N. Williams, Esquire
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STRASSBURGER McKENNA GUTNICK
& GEFSKY

By:_/s/ Jean E. Novak
Jean E. Novak
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